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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


 TAVIA WAGNER,

                      Plaintiff,

 v.                                                      Case No.: 6:24-cv-1839-WWB-DCI

 WES INVESTMENT SUBSIDIARY, LLC
 and THE MARKET SANFORD LLC,

                      Defendants.
                                           /

                                           ORDER

        The Court has been advised by the Joint Notice of Settlement that the above-styled

 action has been completely settled. (Doc. 20 at 1).

        Accordingly, pursuant to Local Rule 3.09(b) of the Middle District of Florida, it is

 ORDERED and ADJUDGED that this cause is hereby DISMISSED with prejudice

 subject to the right of any party, within sixty days from the date of this Order, to move the

 Court to enter a stipulated form of final order or judgment, or, on good cause shown, to

 reopen the case for further proceedings. The Clerk is directed to close this file.

        DONE AND ORDERED at Orlando, Florida on January 24, 2025.
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 Copies to:
 Counsel of Record
